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07/26/2018 01:08 AM CDT




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                                  Nebraska Supreme Court A dvance Sheets
                                          300 Nebraska R eports
                                                   STATE v. BLAIR
                                                  Cite as 300 Neb. 372



                                        State of Nebraska, appellee, v.
                                         K enneth W. Blair, appellant.
                                                    ___ N.W.2d ___

                                          Filed June 29, 2018.    No. S-17-436.

                1.	 Criminal Law: Rules of Evidence: Pretrial Procedure: Appeal and
                    Error. The decision whether to reveal the identity of a confidential
                    informant is controlled by Neb. Rev. Stat. § 27-510 (Reissue 2016), and
                    judicial discretion is involved only to the extent § 27-510 makes discre-
                    tion a factor in determining that question. Where § 27-510 commits a
                    question at issue to the discretion of the trial court, an appellate court
                    reviews the trial court’s determination for an abuse of discretion.
                2.	 Statutes: Appeal and Error. Statutory interpretation presents a ques-
                    tion of law, which an appellate court reviews independently of the lower
                    court’s determination.
                3.	 Trial: Evidence. Whether there is sufficient foundation evidence for the
                    admission of physical evidence must necessarily be determined by the
                    trial court on a case-by-case basis.
                4.	 Trial: Evidence: Appeal and Error. A trial court’s determination of
                    the admissibility of physical evidence will not ordinarily be overturned
                    except for an abuse of discretion.
                5.	 Criminal Law: Rules of Evidence: Pretrial Procedure: Testimony:
                    Appeal and Error. A ruling made under the initial step of Neb. Rev.
                    Stat. § 27-510(3)(b) (Reissue 2016), regarding whether an informer may
                    be able to give testimony necessary to a fair determination, requires a
                    court to use its judgment and thus exercise its discretion. An appellate
                    court therefore reviews such a ruling for an abuse of discretion.

                 Appeal from the District Court for Douglas County: W.
               Russell Bowie III, Judge. Affirmed.
                 Matthew R. Kahler and Beau G. Finley, of Finley &amp; Kahler
               Law Firm, P.C., L.L.O., for appellant.
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                   300 Nebraska R eports
                         STATE v. BLAIR
                        Cite as 300 Neb. 372
  Douglas J. Peterson, Attorney General, and Kimberly A.
Klein for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke, and
Papik, JJ., and Schreiner, District Judge.
  Miller-Lerman, J.
                      NATURE OF CASE
   Kenneth W. Blair appeals his conviction and sentence in the
district court for Douglas County for possession of a deadly
weapon by a prohibited person. Blair claims on appeal that the
district court erred when it overruled his motion to reveal the
identity of a confidential informant and when it admitted a gun
into evidence over his objection. We affirm Blair’s conviction
and sentence.
                    STATEMENT OF FACTS
   The State filed an information against Blair in which it
alleged three counts: possession of a deadly weapon by a
prohibited person; possession of a stolen firearm; and manu-
facturing, distributing, or possessing with intent to distribute a
controlled substance, cocaine. The charges against Blair were
based on evidence obtained from the execution of a search
warrant for Blair’s house and for his person. After it found
probable cause based on the sworn affidavit and application
of Officer Lisa Villwok of the Omaha Police Department, the
Douglas County Court issued the search warrant on August 16,
2015. The warrant authorized police to search for and seize
items including, inter alia, cocaine and related parapherna-
lia and records and any firearms and companion equipment
relating to such firearms. The affidavit indicated that Villwok
obtained much of the information supporting her application
from a confidential informant. The search warrant was exe-
cuted on August 22.
   Prior to trial, Blair filed a motion to suppress evidence
obtained from the search. He asserted that Villwok’s affidavit
did not establish probable cause, because it was “based solely
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                         STATE v. BLAIR
                        Cite as 300 Neb. 372
on statements made by an unnamed confidential informant,
with insufficient information regarding his or her reliability,
and a complete lack of independent evidence corroborating the
statements made by said confidential informant.” Blair also
filed a motion to reveal the identity of the confidential inform­
ant. He asserted that the confidential informant had “provided
information to the State and was an actual participant or eye
witness to the alleged offenses with which [Blair] is charged
in that the confidential informant set up the alleged transac-
tion for which [Blair] has been charged.” Blair further asserted
that knowledge of the identity of the confidential informant
was “necessary to the preparation of the defense herein” and
that without such knowledge, he was “unable to adequately
prepare a defense of this case and address any informant who
apparently has personal knowledge of the events which are the
subject of the Information.”
   The court held a hearing on the two motions on June
14, 2016. Blair asked the court to take up the two motions
together, because the matters were intertwined and because
Villwok was the sole witness as to both matters. Shortly before
the hearing started, on the State’s motion, the court dismissed
without prejudice the charge of manufacturing, distributing,
or possessing with intent to distribute a controlled substance,
cocaine. This left two charges for trial: (1) possession of a
deadly weapon by a prohibited person and (2) possession of a
stolen firearm.
   Villwok testified as follows at the hearing on the two
motions. Villwok had been a police officer for over 12 years
and had been assigned to the “[g]ang unit” for over 5 years. In
that assignment, she commonly used confidential informants
who provided information regarding investigations involv-
ing gangs, narcotics, and gun-related matters. She would
attempt to verify the accuracy of information provided by
confidential informants before using the information to obtain
search warrants. In August 2015, a confidential informant
with whom she had previous experience provided Villwok
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                         STATE v. BLAIR
                        Cite as 300 Neb. 372
information regarding Blair. Villwok knew the confidential
informant to have provided accurate information, including
information that in the past had led to arrests and the seizure
of illegal narcotics. The confidential informant told Villwok
that Blair was selling cocaine out of his residence; the con-
fidential informant had been inside Blair’s residence and had
observed Blair using a digital scale to measure cocaine, then
packaging the cocaine in a plastic baggie and selling it to an
individual in exchange for money. The confidential informant
gave Villwok a physical description of Blair and told Villwok
where Blair lived.
   Villwok followed up on the physical description by search-
ing a law enforcement database for information regarding Blair
and determining that the physical description of Blair in the
database was similar to the description given by the confi-
dential informant. Villwok printed a photograph of Blair from
the database and showed the photograph to the confidential
informant, who identified Blair as the person he had observed
selling cocaine. Villwok also had the confidential informant
direct her to the area where Blair lived and point out the house
in which Blair lived. Villwok determined the address for the
house, and by referencing the county assessor’s website, she
learned that Blair was listed as the owner of the house. Villwok
also verified that two local utility companies listed Blair as the
person responsible for services at the house. Villwok checked
Blair’s criminal history and learned that he had been arrested
for various offenses, including, inter alia, possessing different
types of narcotics, including cocaine, and being a prohibited
person in possession of a gun.
   Villwok included the information she obtained from the
confidential informant in an affidavit that she used to apply
to the county court for a search warrant for Blair’s house and
his person. The county court issued the search warrant based
on Villwok’s affidavit. Villwok and other officers executed the
search warrant on August 22, 2015. The confidential informant
did not accompany Villwok and was not present at Blair’s
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                         STATE v. BLAIR
                        Cite as 300 Neb. 372
house during the execution of the search warrant. Villwok
found Blair in a bedroom of the house. During the search,
another police officer found a Smith &amp; Wesson 9-mm handgun
located under a pillow at the head of the bed in the bedroom in
which Blair was found. There was no one other than Blair in
the room when police officers arrived.
   Based on the gun and other evidence found in the search,
Blair was placed under arrest, and Villwok interviewed him at
the house. In the interview, Blair “took no claim to the resi-
dence” and “denied any knowledge of the gun or of the narcot-
ics located inside of the residence as well as the paraphernalia
and the other items.”
   Villwok continued to use information from the confidential
informant after the search in this case. Villwok testified that
the confidential informant had not been charged with a crime
and did not have any pending criminal case at the time the
informant provided the information regarding Blair but that
the confidential informant was paid money for information the
informant provided that resulted in an arrest. Villwok testified
that the confidential informant had not been promised that
he or she would not have to testify in this case but that the
confidential informant and Villwok both had concerns for the
informant’s safety because of possible retaliation if the role as
a confidential informant were exposed.
   On cross-examination, Villwok testified that between
August 16, 2015, when the search warrant was issued, and
August 22, when it was executed, she had conducted surveil-
lance of Blair’s house, but that she did not attempt to make
a controlled purchase from Blair. Villwok also testified that
she obtained and executed another search warrant for Blair’s
house in February 2016. The information to support the sec-
ond search warrant was provided by the same confidential
informant as in this case. During the investigation related
to cocaine found in the house in the second search, another
resident of the house admitted that the cocaine was his. The
other resident was arrested for possession with intent to
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                         STATE v. BLAIR
                        Cite as 300 Neb. 372
distribute cocaine. Blair was also arrested after the second
search but was charged with only possession with intent to
deliver marijuana.
   Villwok further testified on cross-examination that prior to
the search in August 2015, the confidential informant had told
her that “Blair may be in possession of a long gun.” However,
the gun that was found in the August 2015 search was a hand-
gun, and Villwok testified that no “long gun” was found in
the search. In the affidavit that was submitted to obtain the
search warrant in August, Villwok included that the confiden-
tial inform­ant had stated that Blair “may be in possession of a
long gun in his bedroom.”
   Other than his cross-examination of Villwok, Blair did not
present evidence at the hearing on the motion to suppress and
the motion to reveal the identity of the confidential informant.
The court overruled the motion to suppress, because it con-
cluded that there was sufficient probable cause to issue the
search warrant and, alternatively, that the warrant was executed
in good faith. The court also overruled the motion to reveal
the identity of the confidential informant. The court noted that
Neb. Rev. Stat. § 27-510 (Reissue 2016) generally provides
for “a privilege to refuse to disclose the identity of a person
who has furnished information relating to or assisting in an
investigation of a possible violation of law to a law enforce-
ment officer” but that under § 27-510(3)(b), subject to certain
conditions, disclosure may be required “‘[i]f it appears from
the evidence in the case or from other showing by a party that
an informer may be able to give testimony necessary to a fair
determination of the issue of guilt or innocence in a criminal
case.’” The court noted that although the confidential inform­
ant was a witness to a drug transaction carried out by Blair,
“Blair is no longer charged with a drug offense, but with a
weapons offense.” The court therefore found that “because
[Blair] is not charged with a drug offense, the [confidential
informant] cannot . . . give testimony which is material to the
offense charged.”
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                  300 Nebraska R eports
                        STATE v. BLAIR
                       Cite as 300 Neb. 372
   Blair thereafter waived his right to a jury trial on the two
remaining charges. At the bench trial, the State’s witnesses
included Chris Brown, an Omaha Police Department officer
assigned to the gang unit. Brown was part of the team that
assisted Villwok in executing the search warrant for Blair’s
house on August 22, 2015. Brown was tasked with search-
ing the bedroom in which Blair had been found. Brown
testified that he “picked up the pillow that was on the bed
and observed a black firearm.” The State offered into evi-
dence pictures that had been taken of the bed and the pil-
lows. Brown testified that the pictures depicted how things
appeared at the time of the search. He noted that some of
the pictures showed the gun partially visible underneath the
pillow, and he testified that the pictures depicted where the
gun was when he found it. The State then showed Brown a
gun that was marked as an exhibit. Brown testified that the
exhibit was the gun that he found in the bedroom and that he
was able to identify the gun because it was the same make
and model and it had the same serial number. He testified
that the gun appeared to be in generally the same condition
as it was when he found it. The State offered the gun into
evidence, and Blair objected to admission of the gun based
on foundation.
   Blair had previously objected on the same basis when
Brown first testified that he had found the gun. On both occa-
sions, Blair was allowed to voir dire Brown with regard to
the gun. Blair’s questioning after Brown’s first mention of
the gun was directed toward the return and inventory that was
filed after the search warrant was executed. Brown testified
that he personally did not prepare the return and inventory
and that another officer on the team had done so. After Blair
had Brown read the return and inventory, Brown testified that
while other items he had found in the search of the bedroom
were listed in the document, the gun was not listed. The court
sustained the State’s objection to Blair’s line of questioning
based on relevance. Blair suspended his voir dire at that time
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           Nebraska Supreme Court A dvance Sheets
                   300 Nebraska R eports
                         STATE v. BLAIR
                        Cite as 300 Neb. 372
but continued it after he objected to the State’s offer of the
gun into evidence. Blair began to question Brown about an
alleged discrepancy between the item number on the gun and
the list of items in the return and inventory. After the court
sustained the State’s objection to the line of questioning, Blair
concluded the voir dire. He then argued to the court that the
State did not establish foundation for admission of the gun
into evidence. He generally argued that because the gun was
not listed on the return and inventory, the State had not estab-
lished a chain of custody for the gun, and that therefore, it was
not admissible.
   After hearing argument from both Blair and the State, the
court overruled Blair’s objection and admitted the gun into
evidence. The court reasoned that Brown had testified that
the gun being offered into evidence was the same make and
model and had the same serial number as the gun he found in
the bedroom.
   Brown’s testimony continued after the gun was admitted into
evidence. Brown testified that after he saw the gun, he placed
the pillow back where he had found it and “immediately con-
tacted the crime lab unit to come retrieve” the gun. He stated
that this was standard practice for collecting a gun. Brown did
not touch the gun himself, but he remained in the bedroom and
continued searching for other items. He found various items,
including letters addressed to Blair and other items connected
to Blair. He also found two 9-mm gun magazines. Brown testi-
fied that the gun he had found was a Smith &amp; Wesson 9-mm
handgun. Brown packaged these other items and provided them
to the officer who was preparing the inventory. Brown was
still in the bedroom when a forensic technician from the crime
laboratory arrived to collect the gun. Brown was present as she
photographed the gun and the room.
   Kimberly Van den Akker, whom Brown identified as the
forensic technician who collected the gun, also testified at
trial. Van den Akker was directed to the bedroom when she
arrived at Blair’s house. She took photographs of the bedroom
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                         STATE v. BLAIR
                        Cite as 300 Neb. 372
as it appeared when she entered the room. She had been told
that the gun was under a pillow, so she moved the pillow to
reveal the gun, and she then took additional pictures of the
gun in the location where it was found. Van den Akker was
shown the gun that had been admitted into evidence during
Brown’s testimony, and she identified it as the gun she saw
in the bedroom. After photographing the gun, she put on
fresh gloves, removed the gun from under the pillow, and
placed the gun onto a clean paper bag. She unloaded the gun
and took another picture of it. She then placed the gun into
another clean paper bag and placed the magazine and round
that she had unloaded from the gun into a separate enve-
lope. She then transported the items to the crime laboratory.
Van den Akker testified that from the point she arrived in the
bedroom until she returned to the crime laboratory, she was
the only person who had possession of or touched the gun.
At the crime laboratory, the items were placed into a secured
locker. Van den Akker was the sole technician who did further
processing on the gun. Such processing included swabbing the
surface of the gun for possible DNA. She packaged the swab,
sealed and labeled the package, and turned it over to the evi-
dence property unit.
   At the end of its case, the State presented certain testimony
to which Blair had stipulated. The State asserted that the gun
that had been entered into evidence had been test fired by a
forensic technician and that the technician would testify that it
was “a weapon which is designed to expel any projectile by the
action of an explosive or frame or receiver of such weapon.”
The State further asserted that a crime laboratory technician
had collected a buccal swab from Blair and that the buccal
swab and the swab Van den Akker had taken from the gun were
submitted for DNA testing. The State offered into evidence
the DNA report containing the results of a comparison of the
two swabs. The report stated that Blair was not excluded as a
partial profile contributor to the DNA tested. The court allowed
the DNA report into evidence over Blair’s objection. Blair
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                         STATE v. BLAIR
                        Cite as 300 Neb. 372
stated that his objection to the DNA report, which was also his
general objection to the stipulated testimony presented by the
State, was “just [his] foundational objection again . . . to the
underlying firearm.” The court also allowed, without objec-
tion by Blair, evidence that Blair had a prior felony conviction
from 1999.
   The State rested its case, and Blair moved to dismiss both
counts. After Blair and the State argued the motion to dismiss,
Blair rested his defense without providing evidence. The par-
ties made closing arguments, and the court stated that it would
announce its verdict at a later date. At that later date, the
court found Blair guilty of possession of a deadly weapon by
a prohibited person, but it found him not guilty of possession
of a stolen firearm. The court later sentenced Blair to impris-
onment for a mandatory minimum of 3 years and a maximum
of 6 years.
   Blair appeals his conviction and sentence.

                 ASSIGNMENTS OF ERROR
   Blair claims that the district court erred (1) when it over-
ruled his motion to reveal the identity of the confidential
informant and (2) when it admitted the gun into evidence over
his objection.

                   STANDARDS OF REVIEW
   In State v. Wenzel, 196 Neb. 255, 260, 242 N.W.2d 120,
123 (1976), we stated that “[t]he disclosure of the name of the
[confidential] informant was within the discretion of the trial
judge.” In Wenzel, we relied mainly on federal case law to set
forth standards relating to the decision whether the identity of a
confidential informant should be disclosed, and we did not cite
to § 27-510, which was enacted in 1975 and did not govern the
trial court’s decision in Wenzel.
   The decision whether to reveal the identity of a confidential
informant is now governed by § 27-510, which is part of the
rules of evidence and creates a privilege for the State to refuse
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                          STATE v. BLAIR
                         Cite as 300 Neb. 372
to disclose the identity of a confidential informant. The stan-
dard we generally apply on appeal when reviewing decisions
regarding issues of admissibility under the rules of evidence
is as follows: In proceedings where the Nebraska Evidence
Rules apply, the admissibility of evidence is controlled by
the Nebraska Evidence Rules; judicial discretion is involved
only when the rules make discretion a factor in determining
admissibility. Where the Nebraska Evidence Rules commit the
evidentiary question at issue to the discretion of the trial court,
an appellate court reviews the admissibility of evidence for an
abuse of discretion. State v. Hill, 298 Neb. 675, 905 N.W.2d
668 (2018).
   [1] The language of § 27-510 guides and sets the parameters
for a court’s decisions regarding whether the identity of an
informer should be disclosed; certain determinations within
§ 27-510 are based on judicial discretion. Applying these stan-
dards to § 27-510, we hold: The decision whether to reveal the
identity of a confidential informant is controlled by § 27-510,
and judicial discretion is involved only to the extent § 27-510
makes discretion a factor in determining that question. Where
§ 27-510 commits a question at issue to the discretion of the
trial court, an appellate court reviews the trial court’s determi-
nation for an abuse of discretion.
   [2] To the extent appellate review of a trial court’s deci-
sion whether to reveal the identity of a confidential informant
involves interpretation of § 27-510, statutory interpretation
presents a question of law, which an appellate court reviews
independently of the lower court’s determination. State v.
Kennedy, 299 Neb. 362, 908 N.W.2d 69 (2018).
   [3,4] Whether there is sufficient foundation evidence for
the admission of physical evidence must necessarily be deter-
mined by the trial court on a case-by-case basis. State v.
Smith, 292 Neb. 434, 873 N.W.2d 169 (2016). A trial court’s
determination of the admissibility of physical evidence will
not ordinarily be overturned except for an abuse of discre-
tion. Id.
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           Nebraska Supreme Court A dvance Sheets
                   300 Nebraska R eports
                         STATE v. BLAIR
                        Cite as 300 Neb. 372
                            ANALYSIS
District Court Did Not Err When It
Overruled Blair’s Motion to Reveal
Identity of Confidential Informant.
   Blair claims that the district court erred when it overruled
his motion to reveal the identity of the confidential informant.
As we explained above, the court in its discretion overruled
the motion based on its determination under § 27-510(3)(b)
that the confidential informant did not have necessary testi-
mony to offer regarding the issue of Blair’s guilt or innocence
in connection with the charges still pending against him. We
determine that the court did not abuse its discretion when
it overruled the motion to reveal the informer’s identity on
this basis.
   As noted above, taken as a whole, § 27-510 creates a privi-
lege for the State to refuse to disclose the identity of a confi-
dential informant, as well as circumstances where the privilege
must yield to other considerations.
   Section 27-510(1) describes the privilege as follows:
      The government or a state or subdivision thereof has a
      privilege to refuse to disclose the identity of a person
      who has furnished information relating to or assisting in
      an investigation of a possible violation of law to a law
      enforcement officer or member of a legislative committee
      or its staff conducting an investigation.
Subsection (2) of § 27-510 indicates who may claim the
privilege.
   Subsection (3) indicates certain circumstances in which
the privilege is limited or must give way to other concerns.
Subsection (3)(a) indicates that no privilege exists if the con-
fidential informant appears as a witness or if the confiden-
tial informant’s identity has already been disclosed by either
the confidential informant or the holder of the privilege to
“those who would have cause to resent the communication.”
Subsection (3)(b) provides procedures to address situations
including, inter alia, where the confidential informant “may
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be able to give testimony necessary to a fair determination of
the issue of guilt or innocence in a criminal case.” Subsection
(3)(c) provides procedures to address the situation in which
“information from [a confidential informant] is relied upon
to establish the legality of the means by which evidence was
obtained” and the judge has reason to believe the informant’s
information may not have been reliable or credible.
   In the present case, there was no indication that the State
planned to call the confidential informant as a witness and no
indication that the identity of the confidential informant had
been disclosed by the State or by the confidential informant.
Therefore, subsection (3)(a) was not at issue. Also, Blair indi-
cated at the hearing in this case that he was not specifically
challenging the reliability or credibility of the confidential
informant’s information for purposes of his motion to suppress.
Therefore, subsection (3)(c) was not at issue.
   Instead, Blair contends that the limitations on the privilege
found in subsection (3)(b) of § 27-510 were applicable. Section
27-510(3)(b) provides, in relevant part:
      If it appears from the evidence in the case or from other
      showing by a party that an informer may be able to give
      testimony necessary to a fair determination of the issue of
      guilt or innocence in a criminal case . . . and the govern-
      ment invokes the privilege, the judge shall give the gov-
      ernment an opportunity to show in camera facts relevant
      to determining whether the informer can, in fact, supply
      that testimony. The showing may be in the form of affida-
      vits or testimony, as the judge directs. If the judge finds
      that there is a reasonable probability that the informer
      can give the testimony, and the government elects not to
      disclose his [or her] identity, the judge on motion of the
      defendant in a criminal case shall dismiss the charges to
      which the testimony would relate, and the judge may do
      so on his [or her] own motion.
Therefore, when the defendant in a criminal case moves
for disclosure of the identity of a confidential informant,
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§ 27-510(3)(b) sets up a series of steps to determine whether
the identity may be disclosed or whether the State’s privilege
should be honored.
   As the first step under § 27-510(3)(b), the judge must deter-
mine whether it appears that the confidential informant may be
able to give testimony necessary to a fair determination of the
issue of guilt or innocence of the pending charges. If the testi-
mony is not necessary, then the judge need proceed no further
under § 27-510(3)(b) and may overrule the defendant’s motion
on the basis that the identity of the confidential informant is
not relevant to the charges against the defendant.
   If, however, it does appear that the confidential informant
may be able to give such testimony, then the government
must decide whether to invoke the privilege afforded it under
§ 27-510(1). If the government decides not to invoke the privi-
lege, then the court may order disclosure.
   If, however, the government invokes the privilege, then the
judge must hold an in camera hearing to allow the government
an opportunity to present facts relevant to show whether the
confidential informant can in fact supply testimony necessary
to a fair determination of the issue of guilt or innocence. If,
based on the in camera hearing, the judge finds that there is
not a reasonable probability that the informer can give the tes-
timony, then the court may overrule the defendant’s motion to
disclose the identity of the confidential informant.
   If, however, the judge finds that there is a reasonable prob-
ability that the informer can give testimony that is necessary,
then the government may elect to waive the privilege and
disclose the identity of the confidential informant. If the gov-
ernment does not so elect, then the defendant may move to
dismiss the charges to which the testimony would relate or the
court may dismiss the charges on its own motion.
   This understanding of the framework of how § 27-510(3)(b)
operates factors into our review of the court’s ruling in which
it denied Blair’s motion to reveal the identity of the confiden-
tial informant. In addition to arguing that the court erred in
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determining as a substantive matter that it did not appear that
the confidential informant could give testimony relevant to the
charges against him, Blair also makes two procedural argu-
ments regarding the district court’s alleged error in overruling
his motion. First, he contends that the judge erred by failing
to hold the in camera hearing identified in § 27-510(3)(b).
Second, he contends that it was improper for the State to dis-
miss the drug charge in order to avoid disclosing the identity of
the confidential informant. We find no merit to either of these
procedural contentions.
   As to the first procedural argument, we note that the court
made the initial determination that it did not appear that the
confidential informant “may be able to give” testimony neces-
sary to a fair determination of the issue of guilt or innocence
with respect to the charges that were still pending in this
case—possession of a deadly weapon by a prohibited person
and possession of a stolen firearm. Because the court made this
initial determination, it did not need to go further than this first
step under § 27-510(3)(b). An in camera hearing would have
been required only if the court had found that it appeared the
confidential informant “may be able to give” testimony regard-
ing Blair’s guilt or innocence and the State had thereafter
invoked its privilege. Thus, Blair’s assertion that an in camera
hearing was required is without merit.
   As to the second procedural argument, we do not find it
improper that the State dismissed the drug charge before
the court could order it to disclose the identity of the con-
fidential informant. As we read the progression laid out in
§ 27-510(3)(b), the State’s actions in this case were antici-
pated by the statute. When there is a reasonable probability
that the confidential informant can give testimony necessary
to a fair determination of the issue of guilt or innocence
on a specific charge, then the State has the option to either
waive its privilege and disclose the identity of its confiden-
tial inform­ant or invoke the privilege and, thus as a practical
matter, face the possibility of dismissal of the charges by
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                         STATE v. BLAIR
                        Cite as 300 Neb. 372
the court on its own motion or on the motion of the defend­
ant. The ultimate relief that was available to Blair under
§ 27-510(3)(b) was dismissal of the charge to which the
confidential inform­ ant’s testimony would be necessary. By
the State’s dismissal of that charge, Blair obtained that relief,
and we do not find it improper for the State to have made
the choice to maintain confidentiality of the informer and to
dismiss the drug-related charge.
   [5] Finally, we find no error in the court’s conclusion that it
did not appear that the confidential informant in this case may
be able to give testimony necessary to a fair determination of
the issue of guilt or innocence on the charges still pending
against Blair. This ruling was made under the initial step of
§ 27-510(3)(b), which requires the court to use its judgment
and thus exercise its discretion. We therefore review the ruling
for an abuse of discretion.
   At the time the court considered Blair’s motion, the charges
remaining against Blair were for possession of a deadly weapon
by a prohibited person and possession of a stolen firearm. The
evidence relevant to those charges related to whether Blair
was in possession of the gun found on the day of the search,
whether he was a prohibited person on that day, whether the
gun was stolen, and whether Blair knew the gun was stolen.
There was no indication that the confidential informant had
information relevant to any pending issue other than whether
Blair had previously been in possession of a weapon. But
even regarding possession, there was no indication that the
confidential informant was present during the execution of the
search warrant and therefore no indication he could provide
information relevant to whether Blair was in possession of
the gun on the day of the search. There was evidence that the
confidential informant had previously observed Blair to be in
possession of a “long gun” on an earlier date; however, such
evidence was not relevant to and likely would not have been
allowed in connection with the charges in this case stemming
from possession of a handgun.
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           Nebraska Supreme Court A dvance Sheets
                   300 Nebraska R eports
                         STATE v. BLAIR
                        Cite as 300 Neb. 372
   The court was correct in its assessment that although testi-
mony of the confidential informant may have been necessary
to a drug-related charge on the issue of intent, it would not be
necessary to the charges that remained after dismissal of the
drug-related charge. We determine that the district court did
not abuse its discretion when it ruled that it did not appear
that the confidential informant in this case may be able to give
testimony necessary to a fair determination of the issue of guilt
or innocence on the charges pending against Blair and when it
therefore overruled Blair’s motion to reveal the identity of the
confidential informant.

District Court Did Not Abuse Its
Discretion When It Allowed
Gun Into Evidence.
   Blair also claims that the court erred when it admitted the
gun into evidence over his objection. We conclude that the dis-
trict court did not abuse its discretion when it determined that
there was adequate foundation to allow the gun into evidence.
   Whether there is sufficient foundation evidence for the
admission of physical evidence must necessarily be determined
by the trial court on a case-by-case basis. State v. Smith, 292
Neb. 434, 873 N.W.2d 169 (2016). A trial court’s determination
of the admissibility of physical evidence will not ordinarily be
overturned except for an abuse of discretion. Id.
   In this case, the gun was offered into evidence in connec-
tion with the testimony of Brown, who had found the gun
during the search of the bedroom. Before offering the gun into
evidence, the State showed the gun to Brown. Brown testified
that it was the gun that he found in the bedroom and that he
was able to identify the gun because it was the same make and
model and, notably, it had the same serial number as the gun
he had found. Brown further testified that the gun appeared to
be in generally the same condition as it was when he found it.
This testimony by Brown was sufficient to provide foundation
for admission of the gun into evidence.
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           Nebraska Supreme Court A dvance Sheets
                   300 Nebraska R eports
                         STATE v. BLAIR
                        Cite as 300 Neb. 372
   Blair’s objection at trial and his argument on appeal focus on
a chain of custody and the alleged failure of law enforcement
personnel to include the gun on the return and inventory that
was prepared and filed after the search warrant was executed.
It is generally understood that a “chain of custody for physical
evidence may have to be established as part of the foundation
for its admission as in cases where physical evidence is not
readily identifiable or may be susceptible to tampering, con-
tamination, or exchange.” 23 C.J.S. Criminal Procedure and
Rights of Accused § 1150 at 598 (2016). However, a chain of
custody is not logically necessary to establish the foundation of
an item of physical evidence bearing a serial number or other
unique identifier.
   Rather than going to admissibility, we believe Blair’s argu-
ment goes to the weight to be accorded to the evidence. We
have previously discussed this issue in State v. Bradley, 236
Neb. 371, 461 N.W.2d 524 (1990). In Bradley, we concluded
that where a witness at trial identified a gun offered into evi-
dence as being the one he had retrieved from the defendant’s
home, there was sufficient foundation to admit the gun into
evidence and the defendant’s assertions regarding defects in the
chain of custody went merely to the weight to be given to the
evidence rather than to admissibility of the evidence.
   We further note for completeness that in his “chain of cus-
tody” argument, Blair does not appear to assert that the gun
may have been tampered with or altered. Instead, his argu-
ment regarding the failure to include the gun on the return and
inventory relates more to whether law enforcement officers fol-
lowed proper procedure in conducting the search. But Blair’s
objection at trial and his assignment of error on appeal do not
challenge the search or the court’s having overruled his motion
to suppress evidence obtained in the search.
   Brown’s testimony in this case provided sufficient founda-
tion, because the gun was readily identifiable to him based on
its make, model, and serial number. In addition, Brown was
able to address concerns regarding tampering by testifying that
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           Nebraska Supreme Court A dvance Sheets
                   300 Nebraska R eports
                         STATE v. BLAIR
                        Cite as 300 Neb. 372
the gun was in generally the same condition as when he found
it. We conclude that the district court did not abuse its discre-
tion when it admitted the gun into evidence.

                        CONCLUSION
   We conclude that the district court did not err when it over-
ruled Blair’s motion to reveal the identity of the confidential
informant or when it admitted the gun into evidence. We there-
fore affirm Blair’s conviction and sentence for possession of a
deadly weapon by a prohibited person.
                                                    A ffirmed.
